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5
6
                     IN THE UNITED STATES DISTRICT COURT
7
                    FOR THE EASTERN DISTRICT OF CALIFORNIA
8
9
     UNITED STATES OF AMERICA,       )        CR. No. S-08-283 JAM
10                                   )
                     Plaintiff,      )
11                                   )        MOTION TO DISMISS INDICTMENT
                  v.                 )        AND ORDER
12                                   )
     JOSE LUIS GARCIA-MADRIGAL,      )
13                                   )
                      Defendant.     )
14   ________________________________)
15
16         Pursuant to Rule 48 of the Federal Rules of Criminal
17   Procedure, Plaintiff, United States of America, by and through
18   its undersigned attorney, moves this Court for an order
19   dismissing the indictment against JOSE LUIS GARCIA-MADRIGAL in
20   Case No. S-08-283 JAM, filed on June 19, 2008.
21         The three-count indictment charges the defendant with
22   violating 21   U.S.C. §§ 846 and 841(a)(1) – Conspiracy to Possess
23   with Intent to Distribute Over 500 grams of Cocaine and Over 50
24   Grams of Methamphetamine; Attempted Possession with Intent to
25   Distribute Over 500 Grams of Cocaine; and Possession with Intent
26   to Distribute Over 500 Grams of Cocaine and 50 Grams of
27   Methamphetamine.
28   ///

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1         This motion is made in the interest of justice in light of
2    evidence discovered post indictment regarding the defendant’s
3    participation in the conspiracy, attempted possession, and
4    possession charges.
5         The defendant is currently out of custody under the
6    supervision of a Pretrial Services Officer.
7
8    DATE: October 29, 2008                 McGREGOR W. SCOTT
                                            United States Attorney
9
10                                     By: /s/ Michael M. Beckwith
                                           MICHAEL M. BECKWITH
11                                         Assistant U.S. Attorney
12
13
14                                  O R D E R
15
16   APPROVED AND SO ORDERED:
17
18
19
20   DATED: October 29, 2008
21                                    /s/ John A. Mendez
22                                   UNITED STATES DISTRICT JUDGE
23
24
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